964 F.2d 1146
    La Morderv.Sullivan*
    NO. 90-4133
    United States Court of Appeals,Eleventh Circuit.
    May 22, 1992
    Appeal From:  M.D.Fla., 759 F.Supp. 778
    
      1
      AFFIRMED.
    
    
      2
      Federal Reporter. The Eleventh Circuit provides by rule that
    
    
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      unpublished opinions are not considered binding precedent.
    
    
      4
      They may be cited as persuasive authority, provided that a
    
    
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      copy of the unpublished opinion is attached to or
    
    
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      incorporated within the brief, petition or motion.  Eleventh
    
    Circuit Rules, Rule 36-2, 28 U.S.C.A.)
    
      
        *
         Fed.R.App.P. 34(a);  11th Cir.R. 34-3
      
    
    